Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 1 of 17




                    EXHIBIT A
Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 2 of 17




                 Master Services Agreement


                        Applicable to


                           Services


                        Performed by


                        AQUENT, LLC


                              For


                            AARP
      Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 3 of 17




                                   TABLE OF CONTENTS


ARTICLE                 P                A             G       E
ARTICLE 1 - MULTIPLE CONTRACTS1
ARTICLE 2 — TERM / TERMINATION2
ARTICLE 3 — SERVICES AND PERFORMANCE2
ARTICLE 4 - FEES AND PAYMENTS3
ARTICLE 5 - INDEMNITY / INSURANCE5
ARTICLE 6 - CONFIDENTIALITY AND SECURITY6
ARTICLE 7 — FINANCIAL / PERFORMANCE AUDITS8
ARTICLE 8 - INDEPENDENT CONTRACTOR8
ARTICLE 9 — CONFLICTS9
ARTICLE 10 - FORCE MAJEURE / FAILURE TO PERFORM9
ARTICLE 11 - NOTICES9
ARTICLE 12 — MISCELLANEOUS1                                0

                                LIST OF MSA ATTACHMENTS

MSA ATTACHMENT NO. [Fill In, If Applicable]
MSA ATTACHMENT NO. [Fill In, If Applicable]
        Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 4 of 17


                                MASTER SERVICES AGREEMENT
                                       FOR SERVICES


This Master Services Agreement For Services ("MSA") is made and entered into as of August 26, 2013
by and between AARP, a not-for-profit corporation organized and existing under the laws of the District of
Columbia and having its principal place o f business a t 601 E Street, NW, Washington, D C 20049
("AARP") and Aquent, LLC, a limited liability company organized and existing under the laws of the State
of Delawareand having its principal place o f business a t 711 Boylston Street, Boston, M A 02116
("Contractor" or "Consultant") [cumulatively, "Parties"].
                                               WITNESSETH
WHEREAS, AARP desires to engage Contractor from time to time to perform certain services; and,
WHEREAS, the Parties acknowledge that this MSA is contemplated to be performed by Contractor in a
series of performances, each of which will constitute a contractual relationship between the Parties pursuant
to and otherwise in conformity with this MSA to the extent not otherwise inconsistent herewith, and the
absence of which shall not otherwise invalidate this MSA; and,
WHEREAS, Contractor may agree to perform such services under the terms of this MSA and separately
executed MSA Attachments, as defined herein;
NOW, THEREFORE, the parties agree as follows:
ARTICLE 1 - MULTIPLE CONTRACTS
1.1. G e n e r a l Terms. T h e Parties acknowledge and agree that this Master Services Agreement is
       intended to operate as a standard set of terms and conditions pursuant to which Contractor may
       perform services under contracts to be executed by the Parties hereto ("MSA Attachments") ,
       where each such MSA Attachment will be substantially in the form of Exhibit A hereto and will (a)
       describe with particularity the services to be rendered ("Services"), (b) include a specification of
       the (i) term, (ii) schedule, (iii) Services to be provided by Key Person(s) (as described in Article 3
       of this MSA), (iv) fees, (v) expenses and (vi) costs applicable to provision of such Services, and (c)
       will incorporate this MSA by reference to the extent not otherwise inconsistent with this MSA, so
       that each MSA Attachment shall constitute a separate contractual agreement.
1.2. N o Obligation to Execute MSA Attachments. T h e Parties acknowledge and agree that nothing
      in this MSA will obligate either Party to execute any MSA Attachments.
1.3. S e p a r a t e Contracts. T h e Parties acknowledge and agree that each MSA Attachment will be
        deemed a separate contract.
1.4. C o n f l i c t Between MSA And MSA Attachment. T h e Parties acknowledge and agree that in the
       event of a conflict between an MSA Attachment referencing this MSA and this MSA, the MSA
       Attachment will prevail. W h e n interpreting an MSA Attachment, references to this MSA will be
       deemed to be a reference to both this MSA and the MSA Attachment. T h e Parties further
       acknowledge that each MSA Attachment may only be amended in accordance with the terms and
       conditions under which this MSA may be amended.
1.5. N o MSA Attachment. T h e Parties acknowledge and agree that where Services are provided
      without an M S A Attachment, t h e terms and conditions will b e governed b y the terms and
      conditions of this MSA.
1.6. N o t Superseded by Parole Evidence Rule. Contractor agrees that any Article in any MSA
       Attachment with a provision equivalent to Article 12.7 hereof will not be deemed to exclude the
       effectiveness of this MSA unless it specifically mentions and negates the applicability of this MSA.
1.7. R e f e r e n c i n g MSA Attachments. T h e Parties acknowledge and agree that, for ease of reference,
        each M S A Attachment will b e numbered sequentially, e.g., M S A Attachment No. 1 , M S A
        Attachment No. 2, etc. Failure to do so, however, will not be opposable against either Party.



                                                 Page 1 of 15

                                                                                       Aquent, LLC_AARP_MSA
Version: J u l y 2011
        Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 5 of 17


                                     MASTER SERVICES AGREEMENT
                                            FOR SERVICES


 ARTICLE 2 — TERM / TERMINATION
 2.1. T e r m and Termination. T h i s MSA will be effective as of August 26, 2013 and will remain in
        effect until terminated by either Party upon notice to the other; provided, further, that this MSA
        shall remain in full force and effect until any then outstanding MSA Attachment is terminated in
        accordance with its provisions and the provisions of this MSA. T h e term of each MSA Attachment
        will be as specified i n the MSA Attachment. A A R P will have the right to terminate any MSA
        Attachment upon advance notice of thirty (30) days to Contractor. I n such event, AARP will be
        liable only for payment of that portion of the Services already performed. A n y termination under
        the terms o f this Article will not limit any obligation o r liability accrued by either Party arising
        hereunder prior to the termination. E x c e p t for the fees for Services provided and, i f any, non-
        cancelable accrued or incurred expenses and costs, AARP will not be liable for any damages or
        other liability as a result of the termination of this MSA or any MSA Attachment prior to the stated
        termination date.
 2.2. P e r f o r m a n c e During Disputes. Should disputes of any nature arise during the term of this MSA,
         both Parties will proceed diligently with their performance pursuant to this MSA pending settlement
         or resolution o f said dispute. T h e Parties acknowledge that this provision will not operate to
         require payment by AARP o f amounts that are the subject of the dispute. T h e Parties further
         agree that this provision will not operate to limit any of the other rights and remedies provided for
         in this MSA.
 ARTICLE 3 — SERVICES AND PERFORMANCE
3.1 S e r v i c e s . Contractor will perform services and produce work product related to Digital, Marketing
         and Creative services in accordance with the terms and specifications of each MSA Attachment.
         Each MSA Attachment will describe as fully as possible the scope of the Services, and the timeframes
         in which Contractor will perform the Services.
3.2. P e r f o r m a n c e Standard. Contractor warrants that the Services will be performed in a good and
         workmanlike manner, with the highest standards of integrity and professionalism. T h e Services will
          be performed i n accordance with Contractor's Code of Conduct and, as applicable, AARP's Code of
         Conduct, and with due regard for the nature and purposes of AARP as a highly visible not-for-profit
         association representing the diverse interests of persons over the age of fifty (50) years. Contractor
         will perform the Services to the sole satisfaction of AARP and with the care, skill, prudence and
         diligence that a prudent person acting in a like capacity and familiar with the provision of such
         Services would use. AARP will provide Contractor with direction, material, information, and access to
         its representatives a s Contractor reasonably requests. C o n t r a c t o r will advise AARP o f any
         inaccuracies it becomes aware of in the course of using such information. T h e Parties understand
         and agree that this is a non-exclusive agreement, and AARP reserves the right to perform the
         Services on its own or through any third party at any time including during the term of this MSA.
 3.3. K e y Person. I f any individual employed by the Contractor is specified in Exhibit A as a "Key Person",
        that person will be deemed an essential person for the performance of the Services specified in this
        Agreement. I f only one person is designated as a Key Person, that individual will be deemed the
        primary project manager assigned to the project and will have primary responsibility with respect to all
        Services provided pursuant to the Agreement. I f more than one person is designated in Exhibit A as a
        Key Person, the Exhibit A shall also designate one Key Person as the project manager. Contractor
        will not change any Key Person without the prior consent and approval of AARP. U p o n request of
        AARP, Contractor will replace any Key Person deemed unable to devote sufficient time or expertise to
        maintain his or her level of responsibility with a replacement Key Person subject to the prior consent
        and approval of AARP. I f Contractor deems any Key Person unable to devote sufficient time to
        maintain his or her level of responsibility, Contractor will provide advance written notice of the person
        designated to replace him or her, which person will be subject the prior consent and approval of
        AARP.
 3.4. W o r k Product. A l l products of Contractor's performance hereunder will be considered "work(s)
       made for hire" for AARP, shall belong exclusively to AARP and its designees, including the

                                                   Page 2 of 15
                                                                                          Aquent, LLC_AARP_MSA
 Version: July 2011
       Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 6 of 17


                                    MASTER SERVICES AGREEMENT
                                           FOR SERVICES


       intellectual property rights thereto, and will be surrendered during the course of this MSA, upon
       demand and at the termination hereof. T o the extent that any element of the work products may
       not be considered a "work made for hire" under applicable law, Contractor hereby assigns, and
       upon creation of each element of each work product, automatically assigns exclusively to AARP,
       exclusive ownership o f all intellectual property rights i n each element o f the work product.
       Contractor agrees to take such further actions and execute and deliver such further agreements
       and other instruments as AARP may reasonably request to give effect to this Section.
3.5. W a r r a n t y of Qualification, Training, Licensing, Legal Compliance, Rule Compliance, Non-
       Infringement. C o n t r a c t o r represents a n d warrants that: ( a ) a l l employees, agents a n d
       subcontractors utilized by Contractor pursuant to this MSA and any MSA Attachment (i) will be
       fully trained, equipped and competent, (ii) will perform their duties in a safe and courteous manner,
       will observe standards of discipline satisfactory to AARP, including observance of all applicable
       rules at all times while on the location where Contractor will perform the Services, and (iii) will work
       harmoniously with AARP personnel; (b) Contractor has obtained all permits and licenses required
       by all applicable authorities t o perform t h e Services specified i n this M S A a n d a n y MSA
       Attachment and will continue, at its own expense, to be so permitted and licensed throughout the
       term of this MSA and any MSA Attachment; (c) the Services and Work Product provided under this
       MSA and any MSA Attachment will not violate any contracts with any third party or infringe on any
       intellectual property or other rights of any third party, provided, however, that the foregoing warranty
       shall n o t apply t o a n y infringement resulting f r o m Contractor's u s e o f tools, instructions,
       specifications, content, or other materials provided by AARP to Contractor, or where AARP or any
       third party modifies any aspect of the Services or Work Product upon written approval from AARP;
       and (d) all Services provided under this MSA and any MSA Attachment will conform t o all
       applicable federal, state and other applicable statutes, regulations, ordinances, a n d orders
       ("Laws") , and that such Laws will be deemed to apply to Contractor if such Laws would apply to
       AARP.
3.6. N o n -Discrimination. C o n t r a c t o r agrees that it will n o t discriminate o r permit discrimination
       against any person or group of persons on the basis of age, disability, sex, race, color, religion,
       national origin, o r any other protected classification, o r in any other manner prohibited by law.
       Contractor shall comply with all applicable Laws pertaining to nondiscrimination in employment
       and facilities including, without limitation, the provisions contained in Executive Order 11246 as
       amended and as may be further amended in the future, titled "Equal Employment Opportunity" and
       41 C.F.R. §§ 60-1.4(a), 60-250.4 and 60-741.5(a) which are incorporated herein by reference.
ARTICLE 4 - FEES AND PAYMENTS
4.1 F e e s . A s specified in each MSA Attachment, AARP will pay Contractor an hourly rate for Services
       provided.
4.2 E x p e n s e s . Except as otherwise provided in an MSA Attachment, Contractor shall be responsible for
        all expenses incurred pursuant to this MSA. I n the event that an MSA Attachment provides for
        reimbursement of certain expenses, Contractor shall submit all relevant receipts and vouchers along
         with its invoices, and shall provide AARP with access to all records necessary to verify such
        expenses upon request from AARP. I n n o event, however, shall AARP b e responsible for
        unreasonable or excessive expenses, for ground transportation expenses to and from the homes of
        Contractor's employees, or for travel time.
4.3 P a y m e n t .
   4.3.1 Contractor will invoice AARP for the fees (and any permitted expenses or costs) described in each
          MSA Attachment on a monthly basis for the Services performed in the preceding month. T h e
          invoice must reference a separate purchase order number (PO#) for each MSA Attachment, and
          must also include full documentation of the work performed.
   4.3.2 Invoices for Contractor services rendered and covered expenses incurred must be sent to either:
          (i) A A R P, General Accounting Services, Accounts Payable Section, P. O . B o x 51040,
          Washington, D.C. 20091 or (ii) via email to one of the following:

                                                  Page 3 of 15
                                                                                         Aquent, LLC_AARP_MSA
Version: July 2011
       Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 7 of 17


                                   MASTER SERVICES AGREEMENT
                                          FOR SERVICES


                         apcorporate@aarp.orq
                         apics@aarp.org
                         apmembershipAaarp.orq
                         apsiqsoqAaarp.org
   4.3.3 I f AARP is reasonably satisfied with the Services provided by Contractor, AARP payment terms
           to Contractor are Net 45 days of receipt of Contractor's invoice.
   4.3.4 I f AARP disputes all or any portion of an invoice, AARP may pay only the amounts not in dispute,
           and payment for the disputed amount will b e paid after the resolution o f such dispute.
           Contractor agrees that it will submit no invoices or revisions to invoices more than six (6)
           months after Services are delivered or rendered. I n the event of termination by AARP of this
           MSA or any MSA Agreement, AARP will make payment to Contractor for accepted materials
           delivered, accepted work performed, and/or allowable expenses incurred up to the date of
           termination, computed in accordance with the terms of this MSA and any MSA Attachment, a s
           may be amended; and provided, further, that in any such event AARP shall not be obligated to
           make any further payments to Contractor for Services performed after the date of termination.
4.4 Ta x e s . I n addition to the amounts charged pursuant to this MSA, AARP will pay any applicable
      sales and/or use taxes that may be lawfully imposed by the government of the United States or any
      state or political subdivision thereof upon Contractor for the Services provided to AARP pursuant to
      this MSA provided Contractor promptly notifies AARP of the imposition of such taxes. Contractor
      agrees to be liable, and to indemnify AARP, for any penalties and interest imposed by any taxing
      authority against AARP arising from any late filing resulting from the failure of Contractor to timely
      notify AARP of any related tax obligation sufficiently in advance to enable AARP to make timely
      filing and payment in the ordinary course o f business. Contractor agrees that the fees paid
      pursuant to this MSA will be deemed to include any value added tax or similar tax imposed by any
      government.
4.5 E q u i p m e n t and Materials. Except as otherwise specified in any MSA Attachment or as requested
      by AARP, Contractor will be responsible for the acquisition, maintenance, inventory, storage, and
      control of all equipment, materials and supplies required to perform the Services.
4.6 P r i c e s . Contractor agrees that the prices for the Services under this MSA or any MSA Attachment
      will be as specified in each MSA Attachment and warrants that such prices are no less favorable
      than those currently extended to any other customer in similar circumstances buying the same
       Goods and/or Services in similar quantities.
4.7 N o n -Solicitation. Each party agrees not to offer employment to, hire, engage the services of, nor
     to use, directly or indirectly, the employees or personnel of the other who are introduced as a result
      of Services provided under this Agreement without the written consent of the other party during the
     term of this Agreement and during the one (1) year period commencing upon the expiration or
     termination hereof, provided however, that AARP shall have the right to directly hire Contractor's
      personnel as employees of AARP without the prior written consent of Contractor pursuant to the
     terms and conditions set forth in Section 4.8 below. This provision does not apply to hiring which is
      a result of an employee of either party responding to a general solicitation through an employment
      agency, classified advertisement (whether in print media or web-based) or general solicitation
      advertisement.
4.8 R i g h t To Hire.
4.8.1 A A R P retains the right to hire any resources of Contractor after such resource has provided 1,040
        hours of service to AARP, at no fee. AARP may hire or engage directly or indirectly any resource
        of Contractor who is introduced to AARP by Contractor during the term of any engagement and
        for one year after the expiration or termination therof pursuant to the terms of the schedule set
        forth below. Categories of resources for which these rules apply: Accounting/Finance (FN),
        Human Resources (HR), Information Technology (IT) and Business Professionals (BP).



                                                 Page 4 of 15
                                                                                      Aquent, LLC_AARP_MSA
Version: July 2011
        Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 8 of 17


                                    MASTER SERVICES AGREEMENT
                                           FOR SERVICES


          HOURS ON ASSIGNMENT WITH AARP C O N V E R S I O N FEE
          0 to 519 hours           3           0              %
          520 to 1,040 hours           1           5              %
4.8.2 A A R P retains the right to hire any Administrative resources after 520 hours service at no fee.
        AARP may hire or engage directly or indirectly any resource of Contractor who is introduced to
        AARP by Contractor during the term of any engagement and for one year after the expiration or
        termination therof who has worked less than 520 hours at a conversion fee of 30%. The job
        category for which these rules apply is Administrative/Office(A/O). Contractor will know at receipt
        of requirement what category resource person will belong to and the policy associated.
4.8.3 H o u r s of service are accumulated from the start date at AARP pursuant to the applicable
        Contractor resource to the then-current date of the same assignment with AARP and will include
        all hours of service at AARP with the Contractor. This will allow for breaks in service (non-
        contiguous time), but the accumulation of time shall not include any time during which Services
        were not being provided by the Contractor resource in question, providing all Services are with
        Contractor.
4.8.4 T h e conversion fee shall be calculated as a percentage of the individual's initial anticipated
        annual base salary, payable on the date the individual begins employment. A n y resumes or
        information provided to AARP regarding candidates presented for temporary services
        engagements are Contractor's confidential information and shall be afforded appropriate
        protection and safeguards.
ARTICLE 5 - INDEMNITY / INSURANCE
5.1. G e n e r a l Indemnity. Contractor agrees and hereby undertakes to release, indemnify, and save
      harmless AARP, its subsidiaries and affiliates, and their respective officers, directors, employees,
      members, independent contractors, agents, and/or benefit plans, from and against all liability,
      damages, claims, suits, theft, penalties or actions of every name and description, and including any
      and all costs and expenses related thereto (including the costs of the defense thereof, reasonable
      attorney fees and court costs), directly arising out of or resulting from (a) the negligent acts or
      omissions o f Contractor, its officers, directors, employees, members, independent contractors,
      agents o r benefit plans i n connection with t h e performance o f any this M S A o r any M S A
      Attachment, (b) Contractor's breach of this MSA or any MSA Attachment or the representations
      contained in either, including (i) failure to provide the Services and work product in accordance with
      the standards of care set forth in this MSA or any MSA Attachment, or (iii) a breach by Contractor of
      any o f the terms hereof herein, and/or the performance o f any labor o r services performed
      hereunder; and (c) any claim that the Services or Work Product provided under this MSA or any
      MSA Attachment infringe or violate the intellectual property or other rights of third parties, except to
      the extent caused by the gross negligence or willful misconduct of AARP or such infringement
       results from Contractor's u s e o f tools, instructions, specifications, content o r other materials
       provided by AARP to Contractor, o r where AARP o r any third party under AARP's control or at
      AARP's direction modifies any aspect of the Services or Work Product. Contractor acknowledges
      and agrees that the indemnity specified herein will include, without limitation, indemnification for
      settlements or compromises of matters covered by this indemnity.
5.2. Liability Insurance. A t all times during the term of this MSA or any MSA Attachment, Contractor
      will carry and maintain in full force and effect Comprehensive General and Automobile Liability
      Insurance with a combined single limit of liability of not less than One Million dollars ($1,000,000)
      or, if greater, the maximum limit of Contractor's coverage at the time of the execution of this MSA.
      Contractor warrants that such insurance is primary without right of contribution from any other
      insurance that is carried by AARP. Upon request, which may be made by AARP as a condition of
      beginning or continued performance under this MSA, Contractor will provide AARP within five (5)
      business days from receipt of request with Certificates of Insurance that (1) includes AARP as an
      additional insured„ (2) designates that such insurance is primary without right of contribution from

                                                   Page 5 of 15
                                                                                        Aquent, LLC_AARP_MSA
Version: J u l y 2011
       Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 9 of 17


                                   MASTER SERVICES AGREEMENT
                                          FOR SERVICES


      any other insurance that is carried by AARP, (3) contains a waiver of subrogation in favor of the
      additional insureds and (4) Contractor will give AARP written notice at least thirty (30) days in
      advance o f any cancellation o r reduction t o the insurance. F a i l u r e by AARP t o request said
      certificates will not operate or be deemed to operate as a waiver of the insurance and associated
      endorsements required under this provision, and Contractor will hold AARP harmless from any liability
      arising as a result of any such failure(s).
5.3. Wo r k e r ' s Compensation Insurance. A t all times during the term of this MSA, Contractor will carry
      and maintain in full force and effect Workers Compensation insurance as required by applicable law
      covering all personnel engaged in the furnishing of Services under this MSA.
5.4. L i m i t a t i o n of Liability . NEITHER PARTY HERETO SHALL HAVE ANY LIABILITY OR RESPONSIBILITY
        FOR A N Y INDIRECT, INCIDENTAL, EXEMPLARY, SPECIAL, O R CONSEQUENTIAL DAMAGES
        (INCLUDING, BUT NOT LIMITED TO, DAMAGES ARISING FROM LOSS OF PROFITS OR DATA), EVEN IF
       ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THE PARTIES' LIABILITY FOR DAMAGES SHALL
        NOT EXCEED THREE (3) TIMES THE AMOUNT OF FEES PAID BY AARP TO CONTRACTOR FOR THE
       APPLICABLE STAFFING ENGAGEMENT. THE FOREGOING LIMITATION ON LIABILITY SHALL NOT
       APPLY TO CONTRACTOR'S BREACH OF THE CONFIDENTIALITY PROVISIONS CONTAINED HEREIN OR
       TO OBLIGATIONS OF INDEMNIFICATION.
ARTICLE 6 - CONFIDENTIALITY AND SECURITY
6.1 Confidential Information Defined. A l l non-public information, whether written, verbal or electronic,
      concerning the affairs and operations of AARP, its subsidiaries and affiliates, and their respective
      contractors and agents, including, without limitation, operational plans, financial data, employee
      data, contractual information, and information relating to AARP members (including but not limited
     to member names, addresses, phone numbers, e-mail addresses) ("Member Information:"), shall be
      considered "Confidential Information" pursuant to this MSA and any MSA Attachment. Confidential
      Information shall not include information that Contractor can demonstrate by reasonable evidence was
      (a) already known to Contractor at the time of disclosure, (b) in the public domain or available to the
      public, (c) made available to Contractor by third parties (other than AARP members), without any
      non-disclosure obligation to AARP, or (d) independently developed by Contractor.
6.2. U s e of Confidential Information; Non-Disclosure. Contractor agrees that it shall use Confidential
      Information solely for the purpose of providing Services to AARP, and solely as expressly permitted
      pursuant to this MSA. Contractor may not disclose, transfer, sell, rent, copy, or allow third-party
      access to Confidential Information, or use Confidential Information for Contractor's own benefit or
      the benefit of third parties. AARP agrees that Contractor will be permitted to disclose relevant aspects
      of the work to its employees to the extent necessary to perform the Services and to the extent such
      employees are bound to maintain the security and confidentiality o f the Confidential Information.
      Notwithstanding the foregoing, Contractor may disclose Confidential Information t o t h e extent
      compelled by any court, regulatory order or other service of legal process, in which case, if legally
      permissible to do so, Contractor will provide AARP prompt prior notice of any such order or process
      sufficient to allow AARP t o contest such order, and Contractor shall cooperate with AARP in
      responding to such order at AARP's sole expense. Contractor will protect and maintain the security
      and confidentiality of the Confidential Information using at least the same level of care (but no less
      than reasonable care) that Contractor uses to protect and maintain the security and confidentiality
      of its own confidential information.
6.3. Security Controls. T o the extent that the Contractor is utilizing it own systems to store, process
      or transmit Confidential Information provisions 6.3 (a) and 6.3 (b) apply:
        6.3(a) T o the extent that Contractor has access to Member Information or other Confidential
        Information that AARP deems to be particularly sensitive, Contractor will maintain, at a minimum,
        the following controls: (a) updated anti-virus software installed o n all appropriate computing
        equipment, ( b ) updated security software patches installed o n a l l appropriate computing
        equipment, (c) firewall software installed on computing environments connected to the Internet,
        (d) u s e o f encryption software w h e n electronically transmitting A A R P d a t a t o external
        organizations (including AARP), (e) appropriate access controls to restrict access to authorized
                                                 Page 6 of 15
                                                                                       Aquent, LLC_AARP_MSA
Version: July 2011
      Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 10 of 17


                                     MASTER SERVICES AGREEMENT
                                            FOR SERVICES


        individuals of AARP data, materials, o r computing systems or locations processing or storing
        AARP data, and (f) such other security controls, systems, and measures as AARP and Contractor
        may agree upon during the term of this MSA or any MSA Attachment.

        6.3 (b) Contractor will maintain accurate and detailed records of its performance of its obligations
        as relates to preservation o f technology security and confidentiality under this MSA and each
        MSA Attachment. A A R P reserves the right to perform, either itself or through an authorized
        representative, performance audits relating t o maintenance o f technology security a n d
        preservation of confidentiality under this MSA. A u d i t s may include examination of reasonably
        relevant information t o support confirmation o f preservation o f technology security a n d
        confidentiality by Contractor, as well as review of Contractor's internal controls (such as business,
        security, and information technology practices) relevant to maintenance of technology security
        and preservation of confidentiality under this MSA or any MSA Attachment. Contractor will make
        all directly pertinent records available for inspection or audit by AARP or its authorized agent at
        Contractor's business office during normal business hours for up to six (6) months after the
        termination of each MSA Attachment. W i t h o u t limitation to any other provisions of this MSA
        respecting engagement b y Contractor o f any subcontractors, vendors, advisors, o r agents
        ("Third-Party Contractors") to perform any portion of the Services to which this MSA or any MSA
        Attachment relates, Contractor will require Third-Party Contractors so engaged to comply with the
        provisions of this Article.
6.4. T h i r d -Party Contractors. C o n t r a c t o r shall n o t disclose a n y Confidential Information t o any
       subcontractors, vendors, advisors, or agents ("Third-Party Contractors") without (a) the prior written
       consent of AARP, and (b) the execution by such Third-Party Contractor of an AARP-approved
       agreement imposing upon t h e Third-Party Contractor t h e s a m e security a n d confidentiality
       obligations imposed upon Contractor pursuant to this MSA. Contractor shall be responsible for
       ensuring that all Third-Party Contractors comply with such obligations, and shall remain responsible
       for any unauthorized u s e o r disclosure o f Confidential Information b y a n y such Third-Party
       Contractors.
6.5. N o t i c e of Incidents. Contractor shall notify AARP as soon as practicable, but no later than forty-
       eight (48) hours, o f any discovery o f any unauthorized use, disclosure, theft, o r other loss or
       compromise of Confidential Information. Contractor agrees to make available sufficient resources
       and data for AARP to determine the full impact and root cause of the incident.
6.6. R e t u r n of Confidential Information. U p o n termination of this MSA, or at any other time during
       the term of this MSA or any MSA Attachment if requested by AARP, Contractor shall return to
       AARP, within ten (10) days, any and all Confidential Information, including Member Information
        (and any and all copies, tapes and duplications thereof), then in its or its Third-Party Contractors'
        possession, and shall maintain no such information in its or its subcontractors' possession.
6.7. R e g u l a t o r y Requirements. To the extent that Contractor has access to any Confidential Information
        subject to the terms of any privacy laws or regulations, including but not limited to the Gramm-Leach-
        Bliley Act and the Health Insurance Portability and Accountability Act, Contractor agrees to amend this
        MSA o r execute additional agreements (either with AARP, its subsidiaries or affiliates, o r AARP
        member benefit providers) as directed by AARP.
6.8. R e m e d i e s for Confidentiality Breach. Contractor agrees that its breach of this Article will cause
        irreparable damage to AARP, and its subsidiaries and affiliates. I n the event of any breach or
        imminent breach of this Article, Contractor agrees that, in addition to other remedies (which in the
        case of disclosure of Member Information may include, but not be limited to, lost rental value),
        AARP shall be authorized and entitled to seek preliminary or permanent injunctive relief from any
        court of competent jurisdiction (without being required to post bond or other security) to prevent,
        restrain, compel a n act, o r limit the effects of, a s applicable o r appropriate, such breach o r
        imminent breach.
6.9. W a i v e r of Confidentiality. Notwithstanding anything to the contrary herein, nor implying any duty
       of confidentiality otherwise, Contractor acknowledges and agrees that any information shared or

                                                   Page 7 of 15
                                                                                           Aquent, LLC_AARP_MSA
Version: July 2011
       Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 11 of 17


                                   MASTER SERVICES AGREEMENT
                                          FOR SERVICES


        given to AARP pursuant to this MSA o n a confidential basis may be shared b y AARP on a
        confidential basis with its subsidiaries and affiliates.
ARTICLE 7 — FINANCIAL / PERFORMANCE AUDITS
7.1. W i t h o u t limitation t o t h e provisions i n Article 6 . 6 o f this M S A respecting Technology /
       Confidentiality Audits, Contractor will maintain accurate and detailed records o f Contractor's
       performance of Contractors obligations under this MSA and each MSA Attachment. F o r the duration
       of a project described in an MSA Attachment and a period of six months thereafter, and subject to
       the provisions of this Article 7, AARP will have the right to review, either itself or through an
       authorized representative, information reasonably relevant to the charges paid for Contractor's
       Services related to that MSA Attachment.
7.2. A u d i t s may include examination of financially relevant information to support billing and contract
        costs. Contractor will make all records available for inspection or audit by AARP or its authorized
        agent at Contractor's business office during normal business hours.
7.3. I f AARP exercises this right, Contractor will make available such records as: (a) Contractor's
        financial systems can generate directly, and (b) are necessary to support the amounts charged to
        AARP. I f any audit reveals a material inadequacy or deficiency in Contractor's performance or
        billing, t h e cost o f such audit shall b e borne b y Contractor. Otherwise, A A R P agrees to
        compensate Contractor for time expended by Contractor's staff to facilitate the review and to
        reimburse Contractor for any expenses incurred in connection with the review.
7.4. A A R P may exercise this right for an audit under this Article 7 only once in any calendar year and
        AARP agrees to limit the duration of the review to a reasonable period. T h e review must be
        conducted a t mutually convenient times and locations and in a manner that does not disrupt
        Contractor's business operations. Except as maybe otherwise required by law, AARP agrees to
        keep information disclosed to AARP in the course of the review confidential from all third parties,
        except for any third party participating in the review with Contractor's consent as described below.
7.5. C o n t r a c t o r understands that AARP may wish to engage a third party to assist AARP in conducting
         the review. N o third party may participate in the review unless AARP obtains Contractor's prior
         consent, which will not be unreasonably withheld, and the third party enters into an appropriate
         confidentiality agreement with Contractor. A A R P understands that Contractor will not consent to
         the participation of any third party offering services or products that compete with Contractor's
         own, unless the only professionally qualified source of expertise required for such review is a
         competitor.
7.6. A t AARP's request, Contractor shall provide AARP with copies of all documents, data, or information
       in Contractor's possession or control that pertain to Contractor's performance of Services. Contractor
       shall provide such documents, data, o r information on such media as AARP might reasonably
       request, including hard copy, optical or magnetic disk, or tape.
7.7. W i t h o u t limitation to any other provisions of this MSA respecting engagement by Contractor of any
         subcontractors, vendors, advisors, or agents ("Third-Party Contractors") to perform any portion of
         the Services to which any MSA Attachment relates, Contractor will require Third-Party Contractors
         so engaged to comply with the provisions of this Article.
ARTICLE 8 - INDEPENDENT CONTRACTOR
Contractor's Employees, Agents, Representatives Or Subcontractors. Contractor is an independent
contractor for all purposes regarding this MSA o r any MSA Attachment. T h e employees, agents,
representatives o r subcontractors o f Contractor engaged i n performing Services will b e considered
employees, agents, representatives or subcontractors of Contractor for all purposes and will under no
circumstances b e deemed t o b e employees, agents, representatives o r subcontractors o f AARP.
Contractor agrees t o assume full responsibility f o r any a n d all liability t o i t s employees, agents,
representatives or subcontractors on account of injury, disability, and death resulting from, or sustained
by said employees, agents, representatives or subcontractors in the performance of the Services. Unless
otherwise agreed in writing, Contractor will, at the request of AARP, immediately remove from service any

                                                 Page 8 of 15
                                                                                       Aquent, LLC_AARP_MSA
Version: J u l y 2011
       Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 12 of 17


                                    MASTER SERVICES AGREEMENT
                                           FOR SERVICES


employee, agent, representative or subcontractor whose acts or omissions, in the opinion of AARP at its
sole discretion, are unacceptable.
ARTICLE 9 — CONFLICTS
Contractor warrants and agrees that, to the best of its knowledge during the negotiation and performance
of this MSA or any MSA Attachment, neither Contractor nor any officer, director, agent, representative or
employees o f Contractor o r a n y individual w i t h a significant personal relationship thereto have
participated in any activity which could be or appear to be a conflict of interest pursuant to either the
Contractor's or, as applicable, AARP's Code of Conduct specifically: (i) no direct or indirect remuneration
or personal benefit of any kind, other than as specified in Exhibit A, has been received from, promised, or
implied to any officer, director, agent, representative or employees of Contractor or any individual with a
significant personal relationship thereto, AARP, or any third party that may participate in or profit from the
performance of the Services; and (ii) Contractor has not or will not engage any entity or individual to
perform the Services that has a significant relationship with AARP o r with Contractor or any officer,
director, agent, representative o r employees o f AARP o r Contractor without disclosure o f such
relationship and written consent thereof by AARP for performance of the Services; A violation of this
Article shall constitute a material breach of this MSA or any MSA Attachment.
ARTICLE 10 - FORCE MAJEURE I FAILURE TO PERFORM
10.1. Consultation / Advice Of Delay. Contractor agrees to consult with and advise AARP o f any
       anticipated delay or failure, as soon as it becomes aware of such anticipated delay or failure or the
       possibility thereof, whether for force majeure or not, and, where applicable, the re-establishment of
       applicable timetables.
10.2. F o r c e Majeure - Notwithstanding any other provision of this MSA, it is agreed that either Party
        hereto will be relieved of its obligations hereunder in the event and to the extent that performance
        hereof is delayed o r prevented by any cause beyond its control and not caused by the Party
        claiming relief hereunder ("force majeure"). Contractor agrees that where relief is obtained under
       this provision to make its best efforts to resume Service and, where applicable, t o meet the
       timetable for the Services specified in an MSA Attachment.
10.3. F a i l u r e To Perform. Notwithstanding any other provision of this MSA, in the event that Contractor
        fails to provide the Services contracted pursuant to this MSA or any MSA Attachment for any
        reason, including force majeure, and such failure continues for more than five (5) business days,
        AARP may, at its sole option, terminate the MSA Attachment(s) under which Contractor has failed
        to perform, and acquire similar Services from another provider or provide Services for itself.
ARTICLE 11 - NOTICES
11.1. N o t i c e - Except where specified elsewhere in this MSA, any and all notices, documents, records,
       correspondence, approvals or demands required or permitted to be given by the parties hereto will
       be sufficient if made in writing and sent by certified mail, postage prepaid, overnight courier, or
       delivered by hand. W h e r e sent by mail, such notices will also be sent by facsimile. Notices to
       AARP will be addressed to:




                                                  Page 9 of 15
                                                                                        Aquent, LLC_AARP_MSA
Version: J u l y 2011
      Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 13 of 17


                                    MASTER SERVICES AGREEMENT
                                           FOR SERVICES



     Notice to AARP:                                             Notice to Contractor:
     AARP                                                        Aquent, LLC
     Attn: Stephen Clifford                                      Attn: Contracts Department
     Associate General Counsel                                   711 Boylston St.
     601 E Street, NW                                            Boston, MA 02116
     Washington, DC 2 0 0 4 9                                    Fax: -617-830-6502
     Fax: (202) 434-2339
     Email: sclifford@aarp.org                                   Email: contracts@aquent.com

     With copy To:                                               With Copy To:
     Vice President                                              N/A
     Procurement & Contract Management Dept.
     601 E Street, NW
     Washington, DC 20049
     Fax: 202-434-3179
     Email: P0Agreements@aarp.org
        or to such other addresses in the United States as either party hereto may specify for itself by
        notice to the other as provided herein. Notices will be deemed served as of actual receipt.
ARTICLE 12 — MISCELLANEOUS
12.1. C h o i c e of Law. T h e parties hereto agree that this MSA will be governed by the Laws and
        Common L a w o f the United States and the District o f Columbia as though the entire
        contract were performed in the District o f Columbia and without regard t o District of
        Columbia conflict of laws statutes/rules.
12.2. U s e of AARP Name. Contractor will not use the name, trademarks, or service marks of AARP,
        its subsidiaries, o r affiliates, for any purpose without the prior written consent of AARP, which
        consent may be withheld by AARP in its sole discretion.
12.3. A s s i g n m e n t . T h e parties hereto agree and covenant that, except as provided in this MSA, this
         MSA and the rights and obligations established hereunder, may not be assigned in whole or in
         part without the prior written consent of the other, where such consent will not be unreasonably
        withheld, except that AARP may assign its rights to any wholly owned subsidiaries of itself or any
        successor. Unless otherwise expressly agreed by the Parties, any such assignment pursuant to
        the foregoing shall not relieve the assigning Party of any of its obligations pursuant to this MSA.
12.4. H e a d i n g s . T h e captions and headings constructed in this MSA have been inserted solely for
        convenience and are not to be considered in matters of its interpretation.
12.5. Severability. I f any portion of this MSA will be declared illegal, void or otherwise unenforceable, the
        remaining provisions will not be affected, but will remain in full force and effect.
12.6. W a i v e r. N o waiver of any breach o f any portion o f this MSA will constitute a waiver of any
        subsequent breach of the same or any other provisions hereof, and no waiver will be effective unless
        made in writing.
12.7. W h o l e Agreement. T h i s MSA and each MSA Attachment, including the Exhibits incorporated
       herein or therein by reference, represent the entire agreement between the parties hereto and
       supersedes any prior agreement or proposed variation from their terms contained herein. I n the
       event of any conflict between any terms and/or conditions contained on any forms or documents
       exchanged by the parties of this MSA, the terms and conditions of this MSA will govern. This MSA
       will be modified, altered or amended, only by mutual agreement evidenced by an instrument in
       writing executed by both parties or their respective successors in interest.


                                                 Page 10 of 15
                                                                                         Aquent, LLC_AARP_MSA
Version: July 2011
        Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 14 of 17


                                         MASTER SERVICES AGREEMENT
                                                FOR SERVICES


12.8. S u r v i v a l - The representations, warranties, indemnities, limitation of liability, confidentiality (Article 5),
        and work product provisions contained herein will survive the termination or expiration of this MSA or
        any MSA Attachment.
12.9. Counterparts - This MSA may be executed in two (2) or more counterparts, each of which will be
       deemed an original but all of which together will constitute one and the same instrument.
12.10. G o o d Standing. T h e undersigned warrant and represent that each Party, if a legal entity, is duly
        organized and in good standing in the jurisdiction in which it is organized, and is otherwise under
        no legal impediment or limitation that would render it to be without legal authority to enter this
        MSA.
12.11. Signature Authority. Each of the signatories to this MSA warrant and represent that they have
        full legally authority to execute this MSA and, if executed on behalf of a legal entity, that they are
        duly authorized to bind the entity on behalf of which they have executed this MSA.


IN WITNESS WHEREOF, the parties have caused this agreement to be executed by their duly authorized
representatives effective as of the date first specified above.


                                                         For A q u e n t , LLC

                                                         By:




          Nameet Rai         N       a     m       e      :      Pauline Tomko



Title: D i r e c t o r, Procurement IT & Print          Title: V i c e President, Professional Services



Date:                   V e q 13                         Date: A u g u s t 26th, 2013




                                                       Page 11 of 15
                                                                                                  Aquent, LLC_AARP_MSA
Version: J u l y 2011
   Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 15 of 17




                                             EXHIBIT A
                                    MSA ATTACHMENT NO.
This MSA Attachment, when executed by both parties will be an MSA Attachment to the Master
Services Agreement For Services ("MSA") effective a s o f [Insert Effective Date O f MSA]
between AARP and Aquent, LLC ("Contractor") ,as defined therein, and is agreed to by the
parties thereto as of [Insert date this MSA Attachment is effective]. Except as specified herein
the terms and condition of this MSA Attachment will be as specified in the MSA.
1.0 SPECIFICATION OF SERVICES
          [Insert here a description o f the Services that the Contractor will perform. NOTE:
          Think in terms o f actions [e.g., "conduct a telephone survey", etc., rather than
          results (which go in the deliverables section) [e.g., "provide a plan detailing an
          appropriate lobbying program"]
2.0 TERM / SCHEDULE
          [Insert time schedule f o r different phases o f project, including start u p a n d
          conclusion dates.]
3.0 DELIVERABLES
          [Insert results (final product) to be delivered [e.g., "provide a plan detailing an
          appropriate lobbying program"]
4.0 LOCATION
          [Insert here a description of where the Work is to be performed. Examples:
          Unless approved in advance, all focus groups and design sessions will take place in the
          greater Washington, DC metropolitan area.
          Or
          AARP
          601 E Street, NW
          Washington, DC 20049
          Or
          N/A]
5.0 KEY PERSON
          The following individual(s) is / are designated as a Key Person of Contractor under this
          MSA or any MSA Attachment:
                  [Insert Name]
                  Insert Title]
                  [Insert Contractor Name]
                  [Insert Mailing Street Address]
                  [Insert Mailing City, State & Zip Code]
                  Phone: [ I n s e r t Telephone Number]
                  Fax: [ I n s e r t Fax Number]
                  Email: [ I n s e r t Email Address]




                                             Page 12 of 15
                                                                      [Insert Vendor NameLAARP_MSA
Version: J u l y 2011
  Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 16 of 17




6.0 AARP Primary Contact
        The primary contact a t A A R P relative t o performance o f this M S A o r a n y M S A
        Attachment is:
                 [Insert Name]
                 Insert Title]
                 AARP
                 601 E Street, NW
                 Washington, DC 20049
                 Phone: ( 2 0 2 ) 434-[Insert Phone Extension]
                 Fax: ( 2 0 2 ) 434- [Insert Fax Extension]
                 Email: [ I n s e r t email name]@aarp.org


7.0 FEES
        AARP will p a y Contractor f o r accepted Services f o r t h e actual hours worked b y
        individuals performing the Services at the hourly rates set forth below:
                                                                                              Hourly
                      Service Provider          R            a              t           e
                      Provider 1           $             x             x              x
                      Provider 2           $             x             x               x
                      Provider 3           $             x             x               x
        a T i m e and Materials Fees
        AARP will p a y Contractor f o r accepted Services f o r t h e actual hours worked b y
        individuals performing the Services at the hourly rate(s) o f $ p l u s reasonable
        costs and expenses billed at actual cost with no markup.
        Contractor personnel shall not work more than forty (40) hours per week unless requested
        by AARP. U p o n such request. AARP agrees to pay Contractor 1.5 times the standard bill
        rate for all hours worked by Contractor personnel over forty-three (43) hours in one week


8.0 E X P E N S E S
        Contractor will not be entitled to reimbursement c..f Expenses with respect to this MSA
        Attachment.
        - or -
        Contractor shall be entitled to reimbursement of the following reasonable and necessary
        expenses approved in advance by AARP in accordance with the procedures set forth
        below
        8.1 R e i m b u r s e m e n t Procedures. A A R P will reimburse Contractor on the basis of
        documented receipts. C o n t r a c t o r shall submit all relevant receipts and vouchers along
        with its invoices, and shall provide AARP with access to all records necessary to verify such
        expenses upon request from AARP.
        8.2 T r a v e l . E x p e n s e s for travel to and from the site where Services are to be
        performed shall be by way of the lowest available airfare or train fare (whichever is most
        reasonably expedient). Tr a v e l time shall not be billable. I n no event, however, shall
        AARP be responsible for unreasonable or excessive expenses, for ground transportation
        expenses to and from the homes of Contractors employees, or for travel time.



                                            Page 13 of 15
                                                                           [Insert Vendor NameLAARP_MSA
Version: July 2011
   Case 1:24-cv-02949-CRC Document 1-1 Filed 10/17/24 Page 17 of 17




           8.3 L o d g i n g . Notwithstanding the location of lodging selected, lodging expenses in
           the Washington, DC area shall be reimbursed at either (i) rates not to exceed rates
           applicable for AARP- employees staying at the hotels listed in Exhibit B, Attachment 1 to
           this M S A Attachment, a n d otherwise, within t h e guidelines s e t forth i n Exhibit B ,
           Attachment 2 to this MSA Attachment, or (ii) any special rates available to the Contractor,
           whichever is lower.
           8.4 I n c i d e n t a l Expenses. M e a l s , p e r diem a n d Incidental expenses shall b e
           reimbursed within the guidelines listed in Attachment 2 to this Exhibit B.
9.0 C O S T S .
           No costs in addition to the Fees for Services will be paid under this MSA Attachment.
           - or -
           In addition to the Fees for Services under this MSA Attachment, Contractor shall be
           entitled to reimbursement of the following reasonable and necessary costs approved in
           advance by AARP in accordance with the procedures set forth below:
           9.1 R e i m b u r s e m e n t Procedures. Without limitation to any other provisions of the
           MSA o r this Exhibit A , A A R P will reimburse Contractor for costs o n t h e basis o f
           documented receipts. C o n t r a c t o r shall submit all relevant receipts and vouchers along
           with its invoices, and shall provide AARP with access to all records necessary to verify such
           expenses upon request from AARP.
           9.2 S p e c i a l Costs. Contractor shall additionally be entitled to reimbursement of the
           following special costs: None. [ o r delete 'None' and insert any special costs to be
           allowed]
10.0 P A Y M E N T TERMS
           Contractor will invoice AARP, and AARP will pay Contractor invoices according to the
           terms set forth in Article 4 of the MSA.
IN WITNESS WHEREOF, AARP and Contractor have caused this instrument to be executed by
their duly authorized representatives on the day and year first above written.
For AARP:                 F            o            r                Aquent, LLC




By:                                                            By:

Printed:              0-444td                                  Printed: [Insert Signatory Name]

Title:                  Y' da?-f-t P o d i a - '               Title: [ I n s e r t Signatory Title]

Date:                   V / 2 9 fi 3                           Date:




                                               Page 14 of 15
                                                                               [Insert Vendor NameLAARP_MSA
Version: July 2011
